                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:03CR70-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                           ORDER
                                    )
MANDREL EUGENE DUNN,                )
                                    )
                  Defendant.        )
____________________________________)

        THIS MATTER is before the Court upon the Government’s Motion for a Reduction of

Sentence Pursuant to Rule 35(b) and Defendant’s Response. After reviewing the record, it is clear

that Defendant has been an invaluable source of aid to the Government, not merely testifying on the

Government’s behalf, but actively pursuing cases resulting in prosecutions that would not have

occurred but for his initiative. Defendant then testified credibly and truthfully in several trials, even

though he had received information that one drug trafficker, who had absconded from custody, had

been seeking information on his whereabouts. In light of these facts, it appears that Defendant’s

request for a greater departure than that sought by the Government is warranted. This motion is

hereby GRANTED, and Defendant’s sentence is accordingly reduced from 51 months to 27 months,

or a total reduction of 24 months.

        IT IS SO ORDERED.

                                                   Signed: May 11, 2006




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